                                              Case 3:17-cv-02414-WQH-BLM Document 9 Filed 03/16/18 PageID.41 Page 1 of 2


                                                Joshua B. Swigart, Esq. (SBN: 225557)
                                          1     josh@westcoastlitigation.com
                                          2     Yana A. Hart, Esq. (SBN: 306499)
                                                yana@westcoastlitigation.com
                                          3     HYDE & SWIGART APC
                                                2221 Camino Del Rio South, Suite 101
                                          4     San Diego, CA 92108
                                          5     Telephone: (619) 233-7770
                                                Facsimile: (619) 297-1022
                                          6
                                                Attorneys for Plaintiff
                                          7     Joseph Samo, and all others similarly situated
                                          8
                                          9                                  UNITED STATES DISTRICT COURT
                                         10                               SOUTHERN DISTRICT OF CALIFORNIA
                                         11
                                                       Joseph Samo, individually and on                        CASE NO: 3:17-cv-02414-WQH-
                                         12
                                                       behalf of all others similarly                          BLM
HYDE & SWIGART
                 San Diego, California




                                         13            situated,
                                         14
                                                                              Plaintiff,
                                         15            v.                                                      NOTICE OF SETTLEMENT
                                         16
                                                       Ace Parking Management, Inc.,
                                         17
                                                                              Defendant.
                                         18
                                         19
                                         20
                                         21
                                         22
                                         23
                                         24
                                         25
                                         26
                                                //
                                         27
                                                //
                                         28

                                                     ______________________________________________________________________________________________________
                                                      NOTICE OF SETTLEMENT                     - ! 1 of !2 -              3:17-cv-02414-WQH-BLM
                                              Case 3:17-cv-02414-WQH-BLM Document 9 Filed 03/16/18 PageID.42 Page 2 of 2



                                          1          NOTICE IS HEREBY GIVEN that this case has been settled in its entirety.
                                          2     Plaintiff anticipates filing a Request for Dismissal of this action in its entirety with
                                          3     prejudice as to the named Plaintiff, within 60 days. Plaintiff requests that all
                                          4     pending dates and filing requirements be vacated and that the Court set a deadline
                                          5     on or after May 15, 2018 for filing a Request for Dismissal.
                                          6
                                          7                                                                        Respectfully submitted,
                                          8
                                          9                                                                  Hyde & Swigart, APC
                                         10
                                                Date: March 16, 2018                                         By: s/Yana A. Hart
                                         11                                                                      Yana A. Hart, Esq.
                                         12                                                                      Attorneys for Plaintiff
HYDE & SWIGART
                 San Diego, California




                                         13
                                         14
                                         15
                                         16
                                         17
                                         18
                                         19
                                         20
                                         21
                                         22
                                         23
                                         24
                                         25
                                         26
                                         27
                                         28

                                                 ______________________________________________________________________________________________________
                                                  NOTICE OF SETTLEMENT                     - ! 2 of !2 -              3:17-cv-02414-WQH-BLM
